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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA

                     Plaintiff,


                     vs.                            Case No. 13-10112-JTM


 GERALD BEASLEY, et al.,
                     Defendant.




                            MEMORANDUM AND ORDER


      In conjunction with this criminal action, the government has sought the

forfeiture of certain property of defendants Antoine, Gerald, Terry, and Helen Beasley.

(Dkt. 500, 539, 549, 541). The court has approved Preliminary Orders of Forfeiture. (Dkt.

501, 542, 543, 544). Two motions are now before the court regarding property seized in

connection with the criminal action. Defendant Gerald Wilson has moved for the return

of two vehicles (Dkt. 536), and PHH Mortgage has submitted a request for an ancillary

hearing under 21 U.S.C. § 853(n)(5) to protect its mortgage interest in one property, that

located at 2001 N. Colt Ct. in Andover, Kansas.

      Wilson’s motion for return of property fails to comply with 21 U.S.C. § 853(n)(3).

The pleading is not signed under penalty of perjury, and does not contain any
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information regarding his right, title, or interest in the vehicles, nor does it explaint how

he obtained such a right, title, or interest in them.

       In contrast, the Motion for Hearing filed by PHH Mortgage satisfies the

requirements of the statute, and the government has submitted no opposition to the

motion. Accordingly, upon the completion of the period of notice provided for in the

Preliminary Orders of Forfeiture, the court will conduct an ancillary hearing to resolve

the interests of PHH and the government as to the specified Andover property.

       IT IS SO ORDERED this 6th day of October, 2017, that defendant-claimant

Wilson’s Motion for Return (Dkt. 536) is denied; claimant PHH Mortgage’s Motion for

Hearing (Dkt. 538) is granted as provided herein.



                                           ___s/ J. Thomas Marten______
                                           J. Thomas Marten, Judge




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